COMPLAINT

(for non-prisoner filers without lawyers) “

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A hab fib kee 31

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF WISCONSIN

(Full name of plaintiff(s))

Coey A. Bown
UU N. 24 Place
Milwaukee, Wi 53206

~ 2h-8-0594

be supplied by Clerk of Court)

Ered Meijer Cor porate ice
1990 \Nalver Ave NW
Walker, My 49544

(Full name of defendant(s))

A. PARTIES
1. Plaintiff is a citizen of \N ISCONSW\ and resides at
(State)
Bu) N. 24% Place, Milwaukee IN| 52200
(Address)

(If more than one plaintiff is filing, use another piece of paper.)

Ds Defendant rE re. (\ Nien yer

(Name)

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* ?
is (if a person or private corporation) a citizen of Wi an \QOnN
a :
(State, if known)
and (if a person) resides at

(Address, if known)
and (if the defendant harmed you while doing the defendant’s job)

worked for Wei yes At 1 \N: HocleiaaSt Wawtitysor, Wl | 5322°2

(Employer’ s name and address, if known)

(If you need to list more defendants, use another piece of paper.)
B. STATEMENT OF CLAIM

On the space provided on the following pages, tell:
1 Who violated your rights;

2. What each defendant did;

3. When they did it;

4 Where it happened; and

5 Why they did it, if you know.

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4) Do you own any other property of value, such as real estate, stocks, bonds,
trusts, or individual retirement accounts (e.g., IRA, 401 k), artwork, or jewelry?

| |Yes [| No

If “Yes,” describe the property and the approximate value(s).

V. Other Circumstances — Describe any other financial circumstance(s) that you
would like the Court to consider when reviewing this petition.

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L Q Oeu A. Rr YUN, declare that I am the plaintiff bringing this complaint. I
declare that Iam unable to prepay the fee and that Iam entitled to the relief sought in
the complaint. I declare under penalty of perjury that the foregoing is true and correct.

Max \4,2024 Cee 0. Pron

Date Signature

_ Fee Request — 4
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Es JURY DEMAND ©

I want a jury to hear my case.
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I declare under penalty of perjury that the foregoing is true and correct.
1p [+n
Complaint signed this | Lf day of M Cui 20 a4 ;
Respectfully Submitted,

(Ves (J Ay OWN
Signatur¥ of Plaintiff
(K-48- 5O4S
Plaintiff's Telephone Number

hrown-24@ hotmail.com

Plaintiff's Email Address

UY A. 2U4H Place

huldukee, Wot 53200

(Mailing Address of Plaintiff)
(If more than one plaintiff, use another piece of paper.)

REQUEST TO PROCEED IN DISTRICT COURT WITHOUT PREPAYING THE
FILING FEE

[| I DO request that I be allowed to file this complaint without paying the filing fee.
I have completed a Request to Proceed in District Court without Prepaying the
Filing Fee form and have attached it to the complaint.

A 1 DO NOT request that I be allowed to file this complaint without prepaying the
filing fee under 28 U.S.C. § 1915, and I have included the full filing fee with this
complaint.

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